Case 22-11068-JTD   Doc 1706-1   Filed 06/26/23   Page 1 of 2




                        Exhibit 1
         Japan Group Foreign Bank Account Listing
                  Case 22-11068-JTD       Doc 1706-1      Filed 06/26/23             Page 2 of 2



                                                                                                   Last Four Digits of
                            Debtor Name                                 Bank                       Account Number
FTX Japan Holdings K.K.                        PayPay Bank                                                4533
FTX Japan Holdings K.K.                        Rakuten Bank                                               9456
FTX Japan Holdings K.K.                        SBI Sumishin Net Bank, Ltd.                              9612_EUR
FTX Japan Holdings K.K.                        SBI Sumishin Net Bank, Ltd.                              9612_JPY
FTX Japan Holdings K.K.                        SBI Sumishin Net Bank, Ltd.                              9612_USD
FTX Japan K.K.                                 Far Eastern Int'l Bank                                     6117
FTX Japan K.K.                                 Far Eastern Int'l Bank                                     6125
FTX Japan K.K.                                 Far Eastern Int'l Bank                                     6133
FTX Japan K.K.                                 MUFG Bank, LTD.                                            4459
FTX Japan K.K.                                 MUFG Bank, LTD.                                            7996
FTX Japan K.K.                                 MUFG Bank, LTD.                                            8002
FTX Japan K.K.                                 MUFG Bank, LTD.                                            8015
FTX Japan K.K.                                 MUFG Bank, LTD.                                            8028
FTX Japan K.K.                                 MUFG Bank, LTD.                                            8031
FTX Japan K.K.                                 MUFG Bank, LTD.                                            8044
FTX Japan K.K.                                 PayPay Bank                                                2111
FTX Japan K.K.                                 PayPay Bank                                                2129
FTX Japan K.K.                                 PayPay Bank                                                6667
FTX Japan K.K.                                 PayPay Bank                                                6675
FTX Japan K.K.                                 PayPay Bank                                                6683
FTX Japan K.K.                                 PayPay Bank                                                6691
FTX Japan K.K.                                 Rakuten Bank                                               9430
FTX Japan K.K.                                 Rakuten Bank                                               9440
FTX Japan K.K.                                 Rakuten Bank                                               9448
FTX Japan K.K.                                 Rakuten Bank                                               9458
FTX Japan K.K.                                 SBI Sumishin Net Bank, Ltd.                                3065
FTX Japan K.K.                                 SBI Sumishin Net Bank, Ltd.                              4679_JPY
FTX Japan K.K.                                 SBI Sumishin Net Bank, Ltd.                              4679_USD
FTX Japan K.K.                                 SBI Sumishin Net Bank, Ltd.                              7502_EUR
FTX Japan K.K.                                 SBI Sumishin Net Bank, Ltd.                              7502_JPY
FTX Japan K.K.                                 SBI Sumishin Net Bank, Ltd.                              7502_USD
FTX Japan K.K.                                 Sumitomo Mitsui Banking Corporation                        6135
FTX Japan K.K.                                 Sumitomo Mitsui Banking Corporation                        9233
FTX Japan K.K.                                 Sumitomo Mitsui Banking Corporation                        9244
FTX Japan K.K.                                 Tokyo Star Bank                                            8071
FTX Japan K.K.                                 Tokyo Star Bank                                            8604
FTX Japan Services K.K.                        PayPay Bank                                                5539
FTX Japan Services K.K.                        SBI Sumishin Net Bank, Ltd.                                2610
Quoine India Private Ltd.                      HDFC Bank                                                  7966
Quoine PTE Limited                             Circle                                                      N/A
Quoine PTE Limited                             DBS                                                        8020
Quoine PTE Limited                             Etana Custody                                              10ET
Quoine PTE Limited                             Etana Custody                                              10ET
Quoine PTE Limited                             Etana Custody                                              34AX
Quoine PTE Limited                             Etana Custody                                              34AX
Quoine PTE Limited                             Etana Custody                                              34AX
Quoine PTE Limited                             Etana Custody                                              54EB
Quoine PTE Limited                             Etana Custody                                              54EB
Quoine PTE Limited                             Etana Custody                                              54EB
Quoine PTE Limited                             Etana Custody                                              91CD
Quoine PTE Limited                             Etana Custody                                              91CD
Quoine PTE Limited                             Etana Custody                                              91CD
Quoine PTE Limited                             Etana Custody                                              94CV
Quoine PTE Limited                             Etana Custody                                              94CV
Quoine PTE Limited                             J Trust Bank                                               9031
Quoine PTE Limited                             J Trust Bank                                               9048
Quoine PTE Limited                             J Trust Bank                                               9064
Quoine PTE Limited                             J Trust Bank                                               9072
Quoine PTE Limited                             Swapforex                                                   N/A
Quoine Vietnam Co. Ltd.                        Vietcombank                                                1973
Quoine Vietnam Co. Ltd.                        Vietcombank                                                1984
Quoine Vietnam Co. Ltd.                        Vietcombank                                                1987
